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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
NATIONAL RIFLE ASSOCIATION OF AMERICA,

                                                       Case No. 18 Civ. 566 (TJM)(CFH)
                     Plaintiff,
        v.

ANDREW CUOMO, both individually and in his
official capacity; MARIA T. VULLO, both
individually and in her official capacity; and
THE NEW YORK STATE DEPARTMENT OF
FINANCIAL SERVICES,

                     Defendants.




               DEFENDANT VULLO’S OPPOSITION TO PLAINTIFF’S
                      RENEWED MOTION TO COMPEL
                      EVERYTOWN FOR GUN SAFETY
                  TO COMPLY WITH NON-PARTY SUBPOENA




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                                          ARGUMENT

       Plaintiff National Rifle Association’s (“NRA”) motion seeking a large volume of

Everytown Town for Gun Safety’s (“Everytown”) documents is yet another fishing expedition.

The NRA’s motion is not tethered to its narrow surviving First Amendment claim against Ms.

Vullo, which is on appeal. The NRA does not (and cannot) even claim Ms. Vullo

communicated with Everytown. Judge McAvoy made clear that, in light of the Court’s

dismissal of the selective enforcement claim, “the lion’s share” of the NRA’s wide-ranging

discovery requests “appear not to lead to discoverable matters anymore, or, if they do, are not

proportional to the needs of the case as it currently remains.” Dkt. 324 at 2. Despite this clear

direction from the District Court and this Court’s instruction at the March 26, 2021 conference,

the NRA did not even attempt to narrow its broad requests for discovery from Everytown one

iota. It still seeks the exact same irrelevant information it sought prior to Judge McAvoy’s

dismissal of its selective enforcement claim. Moreover, Ms. Vullo maintains that discovery in

this case should be stayed given her pending appeal on her qualified immunity defense.

       The Court should deny the motion for the reasons set forth in the Attorney General’s

opposition, which Ms. Vullo joins in its entirety. It is no secret that the NRA and Everytown are

politically adverse, but fishing expedition subpoenas cannot be used to punish political

adversaries; Everytown is not a party to this case, and it is the Defendants that will continue to

incur the unnecessary time and expense of the NRA’s irrelevant third-party discovery requests.

At bottom, this NRA subpoena is yet another effort to distract the Court from the fact that the

NRA has no basis for its First Amendment claim against Ms. Vullo. Ms. Vullo submits this

memorandum to rebut the NRA’s misplaced arguments about what is relevant under Rule 26 and

to correct the record.

       Four NRA assertions in particular bear correcting.


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       First, the NRA continues to seek documents concerning the Carry Guard investigation,

ignoring that the Court has since dismissed the selective enforcement claim. In an effort to

sidestep that deficiency, the NRA’s motion leads with its request for documents concerning the

April 2018 Guidance Letters and the April 19 Press Release. But the NRA has never alleged—

and would have no basis to allege—that Everytown had any involvement whatsoever in those

public statements. As Everytown has stated, it “had no involvement in, nor any advance

knowledge of, the April 2018 Letters or the April 19 Press Release.” Dkt. 290 at 16. The NRA

cannot connect the Everytown communications it seeks to the surviving First Amendment claim

against Ms. Vullo, because Everytown had zero involvement in the communications that form

the alleged basis for the First Amendment claim. In any event, Ms. Vullo never communicated

with Everytown and the NRA has no basis to claim otherwise.

       As the selective enforcement claim has been dismissed, Everytown’s limited involvement

in the Carry Guard investigation provides no basis for the NRA to seek discovery to support a

First Amendment claim which arises from alleged conduct in February and April 2018—many

months after Everytown’s communication with the District Attorney’s office “[d]uring or about

September 2017.” Second Amendment Complaint (Dkt. 203) ¶ 34. Consistent with this

Court’s prior holding that the Department of Financial Service’s (“DFS”) investigatory

documents are not relevant to the First Amendment claim because the investigation resulted in

admissions of liability, the NRA’s broad request for documents from a non-party that had a de

minimis role in the investigation is not relevant to establishing a First Amendment claim based

on allegations that simply do not involve Everytown at all. Dkt. 181 at 6-7.

       Second, the NRA’s claim that Everytown “collaborated with Defendants” in the DFS

investigation is simply false. Dkt 347-3 at 4. In making this false assertion, the NRA misleads

the Court once again in using the term “Defendants” when it means only that an employee at


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DFS—and not Ms. Vullo herself—communicated with Everytown. Moreover, that an employee

at DFS spoke with Everytown and obtained information does not constitute “collaboration” in an

investigation. To the extent Everytown had a role in this case, it was a limited one indeed: The

documents the NRA submitted indicate only that Everytown approached the District Attorney’s

Office (not vice versa) to share information about potential Carry Guard violations, and the

District Attorney’s Office reached out to a DFS employee—not Ms. Vullo. The NRA identifies

no evidence—because there is none—that Ms. Vullo ever spoke to Everytown. Nor is there any

indication that anyone at DFS ever sought information from Everytown.

       For its bold claim, the NRA cites one email concerning one phone call between a DFS

employee (not Ms. Vullo) and Everytown, Dkt. 251-25 (Martin Ex. 24, describing the call as

“short”), and an unrelated email with the Executive Chamber about gun control laws having

nothing to do with Ms. Vullo, the Guidance Letters or the Press Release, DFS, or the Carry

Guard investigation, Dkt. 251-26 (Martin Ex. 25). Again, the NRA identifies no evidence that

Ms. Vullo ever spoke to Everytown and, as the District Court made clear (see Dkt. 322 at 12

n.11), Ms. Vullo is not responsible for the conduct of a DFS subordinate—who, in any event,

engaged in a single short phone call, per the NRA’s own submission.

       Third, the NRA wholly misstates Everytown’s role in DFS’s lawful and productive

investigation and prosecution. It is undisputed that DFS received a referral from the Manhattan

District Attorney’s Office, to which Everytown provided information about potential insurance

law violations. It was completely proper for that information to be referred to DFS—the

insurance regulator in New York State. It also was completely proper for DFS to review the

matter referred to it, as a law enforcement agency should do when confronted with such

information from another law enforcement authority. DFS then fully reviewed and investigated

the matter, and its prosecution resulted in admissions from two insurance companies and an


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insurance broker that they violated the insurance law. There can be no dispute that the

investigation was well supported because the targets of the prosecution—Lloyd’s, Lockton, and

Chubb—all admitted liability and entered into consent orders. That a law enforcement agency

reviewed and investigated information (in detail over a period of many months) brought to its

attention by another law enforcement authority which obtained the information initially from an

advocacy group does not change the uncontroverted fact that the investigation and prosecution

led to admitted violations of the insurance laws. Indeed, information is brought to law

enforcement from various sources, and the source of the information is irrelevant; Everytown’s

provision of information to the District Attorney is not indicative of any wrongdoing by the

prosecutorial authorities, and certainly does not support Plaintiff’s First Amendment claim

against Ms. Vullo.

       To hear the NRA tell it, because Everytown is politically adverse to the NRA, the fact

that Everytown provided information to the District Attorney’s Office somehow means that the

DFS prosecution should not have been pursued at all. Nonsense. Here, DFS thoroughly and

independently investigated the issues and prosecuted violations of the insurance law, going well

beyond any information that Everytown had provided, resulting in admitted violations of

multiple consent orders entered into by major insurance providers.

       Not only is the NRA’s claim that Everytown “orchestrated” the DFS investigation false,

it provides no basis for this discovery to support the surviving First Amendment claim. Cf. Dkt.

347-3 at 3.

       Fourth, the NRA distorts the facts in claiming, again without basis, that there was a

“DFS enforcement attorney chosen for his anti-NRA political sentiments.” Id. at 2. The NRA

cites only a single email in which someone in the District Attorney’s office states that a DFS

enforcement attorney, Matthew Levine, had a prior job as “a gun control advocate.” Dkt. 251-


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22 (Martin Ex. 21). The facts: Mr. Levine was the Executive Deputy Superintendent who led

the Enforcement Division at DFS under then-Superintendent Vullo. Mr. Levine was responsible

for DFS’s coordination of numerous matters with the District Attorney’s Office as well as other

criminal prosecution offices. Mr. Levine is an experienced former federal prosecutor who held

senior positions in two United States Attorney’s Offices and at the U.S. Justice Department.

Moreover, the NRA has no support for its claim that Everytown “chose[]” this employee because

of his alleged political views. Dkt 347-3 at 2. To the contrary: The very email the NRA cites

states only that Mr. Levine, when presented with information about possible violations of the

insurance law, “was interested in learning more” and would “review” the information with “his

insurance regulators,” but would not “commit the superintendent [Ms. Vullo].” Dkt. 251-22

(Martin Ex. 21). The NRA imputes connections to Mr. Levine with no basis. And the NRA’s

insistence that being supportive of “gun control” is “anti-NRA” ignores the numerous polls

showing that the majority of the NRA’s own members support gun control.1 More

fundamentally, none of this has anything to do with Ms. Vullo or the remaining First

Amendment claim asserted against her, and provides no basis for the NRA’s attempt to seek

documents irrelevant to this case.

                                                  ***

        Ms. Vullo again reiterates her position that discovery must be stayed while her qualified

immunity appeal is pending before the Second Circuit. As the Supreme Court wisely

anticipated, it has again become “necessary for [Ms. Vullo and her] counsel to participate in the

process to ensure the case does not develop in a misleading or slanted way that causes prejudice



1
   See Amy Sherman, Do majority of NRA members support background checks for guns, PolitFact,
(Feb. 27, 2018), https://www.politifact.com/factchecks/2018/feb/27/tim-ryan/after-parkland-shooting-
ohio-congressman-said-70-8/ (citing polling of NRA members).


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to [her] position.” Ashcroft v. Iqbal, 556 U.S. 662, 685 (2009). As this NRA motion

demonstrates, Ms. Vullo is not being protected “from the concerns of litigation” as a defendant

who has a pending appeal on her meritorious qualified immunity defense. Id.

                                        CONCLUSION

       The NRA’s motion repeatedly misstates and exaggerates the record, making allegations

that lack support, which is how the NRA has litigated this case from the outset. It seeks

documents that have nothing to do with the limited remaining First Amendment claim against

Ms. Vullo, which is itself the subject of a pending appeal seeking dismissal on the basis of

qualified immunity. The motion should be denied.


Dated: New York, New York
       May 24, 2021
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